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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                     Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                       Case No. 22-17842 (PDR)
                                                               (Jointly Administered)
             Debtors.1
                                                       /

    VITAL PHARMACEUTICALS, INC., et al.

                     Plaintiffs,

    v.

    JOHN H. OWOC and MEGAN E. OWOC,                            Adv. Pro. No. 23-01051-(PDR)

                     Defendants.
                                                       /


                           MOTION FOR PRELIMINARY INJUNCTION
                         AND INCORPORATED MEMORANDUM OF LAW

             Pursuant to Rule 65(a) of the Federal Rules of Civil Procedure (the “Federal Rules”), made

applicable to the above-captioned adversary proceeding (this “Adversary Proceeding”) under

Rules 7001 and 7065 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

Debtor Vital Pharmaceuticals, Inc., and its affiliated debtors in the above-captioned chapter 11

cases (the “Chapter 11 Cases”), as debtors and debtors in possession (the “Debtors,” the

“Plaintiffs,” or the “Company”), respectfully bring this motion (this “Motion”) seeking entry of a



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    The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
    Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC;
    and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
    FL 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals,
    Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO
    Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
    (vii) Vital Pharmaceuticals International Sales, Inc. (8019).


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preliminary injunction, substantially in the form attached hereto as Exhibit A (the “Order”),

(a) prohibiting Defendants John (“Jack”) H. Owoc and Megan E. (“Meg Liz”) Owoc (together,

“Defendants”) from accessing, using, deleting, or modifying in any way the CEO Accounts (as

defined herein), (b) converting the Temporary Restraining Order (as defined herein) entered by

this Court into a Preliminary Injunction and extending the injunctive relief granted therein through

the resolution of this Adversary Proceeding, and (c) granting related relief. As grounds for the

relief requested in this Motion, the Debtors rely on the Declaration of John C. DiDonato in Support

of Debtors’ Motion for Preliminary Injunction (the “DiDonato Decl.”) filed concurrently herewith

and respectfully state as follows:

                                     PRELIMINARY STATEMENT

          1.      The Debtors have been granted control over and access to the CEO Accounts2

pursuant to the Temporary Restraining Order3 entered by this Court. With that control, the Debtors

are able to preserve the integrity and value of the CEO Accounts, which collectively have millions

of followers. However, the Temporary Restraining Order is set to expire on May 29, 2023. It is

critical that this Court enter a preliminary injunction extending the protections afforded under the

Temporary Restraining Order and preserving the status quo during the pendency of this Adversary

Proceeding. Defendants have demonstrated the peril of the alternative: When permitted to retain

access, Defendants repeatedly posted defamatory comments on the CEO Accounts to the detriment

of the Debtors and the accounts themselves. Defendants have demonstrated that they cannot be

trusted with control of the CEO Accounts until this Adversary Proceeding is adjudicated. An


2
    The “CEO Accounts” means, collectively, the Instagram account with the handle “@bangenergy.ceo” (the “CEO
    Instagram Account”; the TikTok account with the handle “@bangenergy.ceo” (the “CEO TikTok Account”); and
    the Twitter account with the handle @BangEnergCEO (the “CEO Twitter Account”).
3
    The Temporary Restraining Order means, collectively, the Order Denying Emergency Motion for Relief from
    Unauthorized Stipulation and Extending Temporary Restraining Order [Adv. Proc. ECF No. 81] (the “TRO
    Extension Order”) and Order Approving Stipulation Regarding Debtors’ Motion for Temporary Restraining Order
    [Adv. Proc. ECF No. 10] (the “TRO Order”).

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injunction is necessary to prevent Defendants from posting further content to the CEO Accounts

that would be harmful to the Debtors and the accounts, or altering the accounts in any way. It took

multiple motions and hearings (and substantial time and resources of the estates and this Court) to

finally get Defendants to comply with this Court’s orders and turn over control of the CEO

Accounts to the Debtors, and the Debtors have dutifully safeguarded the CEO Accounts since.

The current status quo is preserving the value of the CEO Accounts, and thus, should be extended

through issuance of a preliminary injunction.

                                JURISDICTION AND VENUE

         2.     The Debtors commenced the Adversary Proceeding pursuant to sections 542(a) and

105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Bankruptcy

Rule 7001(1).

         3.     The Court has jurisdiction over this Adversary Proceeding under 28 U.S.C. §§ 157

and 1334. This Adversary Proceeding is a core proceeding under 28 U.S.C. § 157(b) because it

arises under the Bankruptcy Code and arises in a case under the Bankruptcy Code.

         4.     Venue of the Chapter 11 Cases and this Adversary Proceeding, as well as

adjudication of this Motion, is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.     In accordance with Bankruptcy Rule 7008(a), the Debtors consent to the entry of a

final order or judgment on this Motion by this Court if it is determined that the Court, absent

consent of the parties, cannot enter a final order or judgment consistent with Article III of the

United States Constitution.

                                        BACKGROUND

         6.     Since as early as 2010, the Debtors have made strategic use of a variety of non-

traditional marketing channels, including marketing directly to customers through various social

media platforms. DiDonato Decl. ¶ 5. As of the Petition Date, the Debtors created and operated

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a number of social media accounts as part of their marketing efforts. Id. Both pre- and post-

petition, the Company’s marketing department created content that was posted across their various

social media accounts in a regular and coordinated fashion. See id. ¶ 7.

           7.    The CEO Accounts were among the accounts created by the Company’s marketing

department and for which the Company’s marketing department curated and posted content for

purposes of promotion of the Debtors’ products and business. Id. The CEO Instagram Account

is a verified account created in April 2012 with over 1 million followers and more than 6,400 posts,

the vast majority of which promote the Debtors’ products and business. Id. ¶ 6. Similarly, the

CEO TikTok Account was created in 2019 and has over 850,000 followers, with content primarily

focused on promoting the Debtors’ products and business. Id. ¶ 7. And the CEO Twitter Account,

created in 2010, has over 7,000 followers, with content primarily focused on promoting the

Debtors’ products and business. Id.

           8.    During depositions in an unrelated matter, Defendants testified that the CEO

Accounts were created and operated by the Company, and the Company’s marketing department

created videos which were then posted to the CEO Accounts. Id. at Ex. C, 84:10-16, 84:22-85:1-

6, 86:2-20; id. at Ex. D, 22:17-19. All three CEO Accounts cross-reference each other’s content.

Id. ¶ 7.

           9.    Only a few employees of the Company, including Defendants, had direct access to

the CEO Accounts, including knowledge of the login credentials and the ability to post content.

See id. ¶ 8.

           A.    The Chapter 11 Cases

           10.   On October 10, 2022 (the Petition Date), each of the Debtors commenced a case by

filing a petition for relief under chapter 11 of the Bankruptcy Code. The Debtors’ Chapter 11

Cases are being jointly administered.
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         11.   The Debtors continue to manage and operate their businesses as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108, 11 U.S.C. §§ 1107, 1108.

         12.   On November 1, 2022, the Office of the United States Trustee (the “U.S. Trustee”)

appointed the official committee of unsecured creditors (the “Committee”) [ECF No. 245]. On

November 23, 2022, the U.S. Trustee reconstituted the Committee [ECF No. 400]. No request has

been made to the Court to order the appointment of a trustee or examiner.

         13.   On February 24, 2023, the Court entered an order (the “Bid Procedures Order”)

[ECF No. 854] approving bidding procedures for the sale of all or substantially all of the Debtors’

assets upon the conclusion of the Debtors’ marketing and sale process.

         14.   In order to preserve and maximize the value of the bankruptcy estate, the Debtors

continue to operate, including their marketing efforts, in the ordinary course.

         B.    The Board’s Termination of Mr. and Mrs. Owoc

         15.   Defendant Jack Owoc is the Company’s founder and former Chief Executive

Officer and Chief Science Office. DiDonato Decl. ¶ 8, Ex. E. Defendant Meg Liz Owoc, working

under various job titles, directed the Debtors’ marketing department. Id. ¶ 8, Ex. F.

         16.   On March 9, 2023, the Debtors’ boards of directors and managers (collectively, the

“Board”) voted to terminate the employment of Mr. Jack Owoc and Mrs. Meg Liz Owoc, and to

remove Mr. Owoc from the Board for cause. DiDonato Decl. ¶ 8. Following Mr. Owoc’s

termination, Mr. John DiDonato of Huron Consulting, who had been serving as the Debtors’ Chief

Transformation Officer, was named by the Board as the Debtors’ Interim Chief Executive Officer.

See id. ¶ 1.

         17.   The Company promptly notified Defendants and their individual counsel of the

Board’s decision to terminate their employment. See id. ¶ 9, Ex. G & H. As part of those notices,

the Company directed Defendants to immediately return all of the Debtors’ property, including,
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among other items, any access codes or devices, mobile phones, computers, and any other property

and information. Id.

         18.   Given the management transition, the Company and its advisors worked to secure

all estate property, including access to the Company’s social media accounts. Id. ¶ 10. While the

Debtors were able to secure a majority of the social media accounts and changed login credentials

and points of contact, they were unable to obtain the current login credentials to the three CEO

Accounts. Id. On March 10, 2023, the Company sent a letter to counsel for Defendants reiterating

the need that they promptly return all Company property and demanding that they reveal the login

credentials to the CEO Instagram Account. Id. ¶ 11, Ex. I.

         19.   On March 14, 2023, Debtors filed this Adversary Proceeding and concurrently

sought a temporary restraining order that would prohibit the Owocs from using, and require them

to turn over to Debtors control of, the CEO Accounts. See Adv. Proc. ECF Nos. 1, 2. On March

16, 2023, the parties stipulated that Defendants would provide the CEO Accounts passwords to

the Court by 5:00 p.m. on March 16, refrain from posting any content or making any posts of any

kind to or from the CEO accounts for a period of 45 days, and post content to the CEO Accounts

as requested by the Debtors. See Adv. Proc. ECF No. 9 (“TRO Stipulation”). That same day, the

Court entered an Order approving the TRO Stipulation. See TRO Order.

         20.   Defendants, however, failed to provide the Court with the login credentials by the

agreed-upon deadline. After numerous attempts to engage with Defendants concerning the log-in

credentials and negotiate a summary judgment briefing schedule, the Debtors received no response

and were forced to bring an emergency motion seeking an order holding Defendants in contempt,

among other relief. See Adv. Proc. ECF No. 13. Shortly before the hearing on the motion,

Defendants’ counsel (at that time Mr. Justin Luna) confirmed submission to the Court of the login



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credentials for two of the three CEO Accounts,4 and also informed Debtors’ counsel that he would

be withdrawing as counsel for Defendants.                   Replacement counsel, Jeremy R. Fischer of

Drummond Woodsum and Jay Geller of the Law Office of Jay S. Geller, attended the March 23

hearing on the Debtors’ contempt motion.

         21.      On March 24, 2023, the Debtors notified Messrs. Fischer and Geller that they were

invoking their rights under the TRO Order to have certain content posted to the CEO Instagram

Account. See Emergency Motion for an Order (I) Holding Defendants in Contempt of Court, (II)

Imposing Sanctions, and (III) Setting Hearing on Debtors’ Motion for Temporary Restraining

Order [Adv. Proc. ECF No. 28] at 4-5. The requested content was posted to the CEO Instagram

Account. However, later that day, Mr. Fischer notified the Debtors that he and Mr. Geller would

no longer be representing Defendants. Id. at 5.

         22.      On April 4, 2023, Brad Shraiberg and Patrick Dorsey of Shraiberg Page P.A.

informed the Debtors would be serving as counsel to Defendants. On April 6, 2023, the Debtors

notified Defendants that they were again invoking their right under the TRO Order to have certain

content posted to the CEO Instagram Account, and again provided the content to be posted. Order

Granting Plaintiffs’ Emergency Motion for Contempt (the “Contempt Order”) [Adv. Proc. ECF

No. 61] at 4. On April 10 (despite the requirement to post within nine hours), Defendants posted

the requested content. Id. But Defendants did not stop there. Defendants added commentary

disparaging the Company, its professionals, its Board, and its lenders, and claiming that their

posting was “forced [upon them] by threat,” that the result was a “major fraud on the public,” that

the “FLORIDA BANKRUPTCY COMMUNITY MUST BE BROUGHT TO JUSTICE,” and that

“[t]he bankruptcy community corruption here in South Florida is real.” Id. at 4-5.



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    Counsel represented that Defendants were unable to locate the password for the CEO TikTok account.

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         23.   On April 25, 2013, this Court found Mr. Owoc’s conduct “wrongful[]” and held

Mr. Owoc in contempt of court for violating the TRO Order. Contempt Order at 14 & ¶ 1. The

Court further required Mr. Owoc to (i) delete his “patently false” comments or incur a $25,000 per

day fine for each day the comment remains on Instagram and (ii) turn over to the Debtors’ counsel

passwords for each of the CEO Accounts so that the Debtors may change the passwords for each

of the CEO Accounts. Id. ¶¶ 2-4. Moreover, this Court found that Mr. Owoc’s overt purpose was

to post content harmful to the Debtor’s business while claiming license pursuant to an objectively

unreasonable reading TRO Order. Id. at 15 (dismissing Mr. Owoc’s argument that he was

permitted to make harmful “comments” because comments were not “posts.”). As the Court noted,

that conduct was the very reason the Debtors initially sought a temporary restraining order—i.e.,

to “prohibit the Owocs from using … the CEO Accounts because the Plaintiffs were concerned

the Owocs would post content harmful to the Plaintiffs’ business.” Id. at 15.

         24.   Defendants’ disregard for the Court did not end with this Court’s Contempt Order.

As of May 1, 2023, Defendants had not given the Debtors control of the CEO Accounts such that

they could change the passwords for each of the CEO Accounts. May 1, 2023 Hr’g Tr. at 12:2-

19, 24:15-13, 45:12-20. Thus, this Court found Defendants again to be in violation of an order of

this Court and ordered Defendants to comply with the Contempt Order. See Order Holding

Defendant, John H. Owoc, in Contempt of Court for Failure to Comply with Paragraph 4 of Order

Granting Plaintiffs’ Emergency Motion for Contempt [ECF No. 61] [Adv. Proc. ECF No. 80].

         25.   As a consequence of Defendants’ further disregard for this Court’s authority, the

Court extended the TRO Order for a period of twenty-eight (28) days through May 29, 2023. See

TRO Extension Order.




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          26.      On March 31, 2023, the Debtors filed the Motion for Summary Judgment and

Incorporated Memorandum of Law (the “MSJ”) [Adv. Proc. ECF No. 20]. On April 25, 2023, this

Court heard argument on the MSJ and took the matter under advisement.

          27.      The Debtors remain concerned that if control of the CEO Accounts reverts back to

Defendants, then Defendants will again post content that is harmful to the Debtors or otherwise

will compromise the integrity of the accounts. See DiDonato Decl. ¶ 14. Defendants have proven

time and time again that they cannot be trusted with control over the CEO Accounts and have

posted content that is harmful to or intended to harm the Debtors, their business, their product

marketing, and/or their bankruptcy sale process. See id.; see generally Contempt Order. The

Debtors are also concerned that bidders may view any disruption to the Debtors’ marketing efforts

negatively, and that in turn it would result in substantially lower bids for the Debtors’ assets or the

decision not to bid for the assets at all. See id. ¶ 13.

                                                   ARGUMENT

          28.      “Entitlement to preliminary injunctive relief requires the movant to demonstrate:

(1) a substantial likelihood of success on the merits; (2) a substantial threat of irreparable harm if

the injunction is not granted; (3) the threatened injury to the movant outweighs any potential harm

to the party being enjoined; and (4) that granting the injunction would not be adverse to the public

interest.” MediaOne of Delaware, Inc. v. E & A Beepers & Cellulars, 43 F. Supp. 2d 1348, 1353

(S.D. Fla. 1998) (citing American Red Cross v. Palm Beach Blook Bank, Inc., 143 F.3d 1407, 1410

(11th Cir. 1998)).5 Because the Debtors satisfy each of these factors, the Court should grant this

Motion.


5
    The Debtors also request that this Court not require them to provide any security in connection with the temporary
    restraining order as permitted under Bankruptcy Rule 7065. See Fed. R. Bankr. P. 7065 ((“[Federal] Rule 65 . . .
    applies in adversary proceedings, except that a temporary restraining order or preliminary injunction may be issued
    on application of a debtor, trustee, or debtor in possession without compliance with [Federal] Rule 65(c).”).

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I.       THE DEBTORS HAVE A SUBSTANTIAL LIKELIHOOD OF SUCCEEDING ON
         THE MERITS

         29.    “‘[A] substantial likelihood of success on the merits’ requires a showing of only

likely, rather than certain, success.” Home Oil Co. v. Sam’s E., Inc., 199 F. Supp. 2d 1236, 1249

(M.D. Ala. 2002) (emphasis in original). Section 542(a) of the Bankruptcy Code “authorizes a

bankruptcy court to order turnover of the debtor’s property held by others.” In re Empire for Him,

Inc., 1 F.3d 1156, 1160 (11th Cir. 1993). To successfully move for turnover of estate property, a

debtor “must prove that the subject property constitutes property of the estate and that the

defendant is in possession of that property.” In re Rogove, 443 B.R. 182, 186 (Bankr. S.D. Fla.

2010). The applicable standard “is by preponderance of the evidence.” Id. The Debtors have a

strong probability of successfully showing that the CEO Accounts are estate property.

         A.     The CEO Accounts Are Property of the Estates

         30.    Under the Bankruptcy Code, property of the estate includes “all legal or equitable

interests of the debtor in property as of the commencement of the case.” 11 U.S.C. § 541(a)(1).

As in other circuits, the Eleventh Circuit holds that the “scope of [section] 541(a)(1) is broad, and

includes property of all types, tangible and intangible.” In re Meehan, 102 F.3d 1209, 1210 (11th

Cir. 1997).

         31.    Social media accounts are property of a debtor’s estate when the content of the

accounts is associated with the debtor’s business and use of the accounts is “clearly to generate

revenues for the company.” See In re CTLI, LLC, 528 B.R. 359, 368 (Bankr. S.D. Tex. 2015); see

also ME Tech., Inc. v. Brownstein, No. 20-cv-61508, 2020 LEXIS 215907, at *1 (S.D. Fla. Nov.

13, 2020) (recognizing property interest in social media accounts); JLM Couture, Inc. v. Gutman,

No. 20 CV 10575-LTS-SLC, 2023 LEXIS 42962, at *34-35 (S.D.N.Y. Mar. 14, 2023) (“intangible




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property such as websites and account information can be the object of conversion” in the course

of enjoining ex-employees and contractors to return social media accounts).

         32.    CTLI and JLM are particularly instructive. In CTLI, the bankruptcy court found

that a Facebook page and a Twitter account were business accounts belonging to the debtor, not

the debtor’s founder. CTIL, 528 B.R. at 366-74. In reaching its conclusion, the bankruptcy court

noted that the accounts’ names were related to the business, they were directly linked to the

debtor’s business website, much of the posted content was expressly business-related and

promoted the business, and other employees had access to the account. Id. In addition, the

bankruptcy court rejected arguments that the Facebook account was the founder’s personal

property because it also included personal content, a fact “utterly insufficient to overcome the

presumption that that the Facebook Page . . . was anything other than what it appeared to be: a

business Facebook Page for the business.” Id. at 368.

         33.    JLM, relying on the “careful and thoughtful deliberation by both [the CTLI and

Philbeck] courts as to the ownership issue,” considered the following three factors: “(1) the manner

in which the account is held out to the public; (2) the purpose for which the account has been

utilized; and (3) whether employees of the business access the account in furtherance of business

interests.” JLM, 2023 LEXIS 42962, at *10-11. Application of these factors to the undisputed

facts conclusively demonstrates that the Debtors own all three CEO Accounts.

                1.     How the CEO Accounts Were Held Out to the Public Suggests Ownership
                       by the Debtors

         34.    In determining whether an account has been held out to the public as a company

account, “use of the business or entity name to identify the account to the public weighs heavily

in finding the account is owned by the entity.” JLM, 2023 LEXIS 42962, at *10-11; see also CTLI

at 367-68 (“The fact that this was a Page . . . entitled “Tactical Firearms” raises a presumption that


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it was the Debtor’s Facebook Page.”). Also weighing in favor of company ownership is if the

account handle is used by the company on its products, in print advertisements, and on its website.

See JLM, 2023 LEXIS 42962, at *11. Finally, the inclusion of links to the company’s website and

other social media accounts favors company ownership. See id.; CTLI, 528 B.R. at 372 (stating

that “the fact that the Twitter account . . . was linked to the business’s web page” weighed in favor

of it being a business account).

          35.     It is indisputable that the CEO Accounts have been held out to the public as

company accounts. To begin with, all three CEO Accounts bear the name of the Company’s

signature product, Bang Energy. See DiDonato Decl. ¶ 6; see also JLM, 2023 LEXIS 42962, at

*40-41 (“use of the business or entity name to identify an account to the public weighs heavily in

favor of finding the account is owned by the entity rather than by the individual”). Moreover, the

CEO Account handles appear on the packaging for the Debtors’ signature product, the Bang

Energy drink, encouraging consumers to follow the CEO Accounts to obtain Company

information. See id. In addition, all three CEO Accounts link to other Company media, including

the Company website, Company social media accounts, and feeds (hashtags) tagging the

Company’s products. DiDonato Decl. ¶ 7.6

                  2.       The Purpose for Which the CEO Accounts Were Used Confirms the
                           Debtors’ Ownership

          36.     Evidence demonstrating that a social media account was used to promote the

company’s business points to company ownership. See JLM, 2023 LEXIS 42962, at *13. The

fact that Defendants may also have posted some personal content does not change the business



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    The CEO TikTok Account description says “CEO / CSO of Bang Energy.” See Declaration of John H. Owoc in
    Support of Response to Motion for Summary Judgment [Adv. Proc. ECF No. 41] (the “JO Decl.”), Ex. 2 at 13.
    Similarly, the CEO Twitter Account says “CEO/CSO of VPX.” See JO Decl., Ex. 3 at 178. On the other hand, the
    CEO Instagram Account says “Jack Owoc- Bang Energy,” see JO Decl., Ex. 1 at 41, but had previously identified
    Mr. Owoc as the CEO and CSO of Bang Energy prior to his termination.

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nature of the CEO Accounts. See In re CTLI, 528 B.R. at 368. Both JLM and CTLI stand for the

proposition that even posts that are allegedly “personal” because they relate to the individual’s

activities still are not personal when they promote the person or the lifestyle in a way calculated to

drive engagement with the company or its products. In CTLI, a tweet about attending a firearms

exposition “most assuredly served to develop [the founder’s] reputation as being a well-informed,

connected insider in the gun-buying community, a reputation that would attract consumers to the

business.” CTLI, 528 B.R. at 371. And in JLM, Gutman’s posts regarding her “fashion interests

or events going on in her life—including her engagement—reflect[ed] the ‘kind of subtle

marketing’ social media is known for” because they promoted a lifestyle favored by the company’s

target consumers. JLM, 2023 LEXIS 42962, at *13. Ultimately, the account’s purpose is subject

to a “holistic” analysis of whether the marketing content tends to outweigh purely personal content

(if any). Id. at *14.

         37.    The vast majority of posts to the CEO Accounts overtly promote the Company and

its products. See DiDonato Decl. ¶ 7. Indeed, in opposition to the Debtors’ motion for summary

judgment, Defendants identified “representative samples of the clearly personal Instagram

postings.” See JO Decl. ¶ 29. Even in this cherry-picked sampling, nearly every post displays

Bang apparel, Bang cans or another VPX beverage, or otherwise promotes a VPX product. See

generally id. at Ex. 1 (the first “personal” post shows Mr. Owoc in front of Bang cans, the second

“personal” post advertises the Company’s Fuel Your Destiny campaign and has no connection to

Defendants whatsoever, the third “personal” post advertises the Company’s philanthropic

endeavors and also has no connection to Defendants whatsoever; the theme repeating for 88

pages). Since the vast majority of posts on the CEO Accounts overtly feature the Company’s

products and case law dictates that “posts . . . depicting” company products “cannot be properly



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characterized as personal,” the vast majority of the posts on the CEO Accounts cannot be credibly

characterized as personal. JLM, 2023 LEXIS 42962, at *13.

         38.    Even the limited posts that do not explicitly promote the Company’s products still

focus on weightlifting, fitness or diet topics plainly relevant and targeted to Bang’s brand and

target consumer, consumers of energy drinks with no sugar, carbohydrates, or calories. DiDonato

Decl. ¶ 7. These posts, while not overt marketing of the Debtors’ products, constitute “subtle

marketing” furthering the Debtors’ interests, and still weigh in favor of finding the Debtors’

ownership. See JLM, 2023 LEXIS 42962, at *13; CTLI, 528 B.R. at 371.

                3.     Whether Other Employees of the Debtors Had Access to the CEO Accounts
                       In Furtherance of Business Interests Favors Ownership by the Debtors

         39.    Both the JLM and CTLI courts emphasize that the ability of employees to access

the accounts for business purposes favors company ownership. JLM, 2023 LEXIS 42962, at *14;

CTLI, 528 B.R. at 368, 370.

         40.    The Debtors created and historically controlled the CEO Accounts. In prior

deposition testimony, Mr. Owoc testified that “[s]omebody at Vital” unknown to him had created

the CEO Instagram and Tiktok Accounts. DiDonato Decl., Ex. C at 84:22-85:6. Mr. Owoc further

testified that the “marketing department” was responsible for content posted to those accounts. Id.

at 86:17-20. Mrs. Owoc similarly testified that “Vital” “operate[d]” the CEO Instagram Account.

DiDonato Decl., Ex. D at 22:17. Furthermore, at a hearing before this Court on related matters on

May 11, 2023, counsel for Defendants explained that their failure to provide the password for one

of the CEO Accounts was due to the fact that the account was linked to a “Bang Energy email




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address.”7 Defendants’ prior and incontestable admissions that “Vital” created, controlled, and

operated the accounts further demonstrate that the Debtors own the CEO Accounts.

          B.       The CEO Accounts are in Defendants’ Possession or Will Revert to
                   Defendants’ Possession

          41.      Historically, access to the CEO Accounts has been maintained by a limited number

of individuals, including Defendants.              See DiDonato Decl. ¶ 8.             Following termination of

Defendants from their respective positions at the Company on March 9, the Debtors tried to secure

all of the Company’s social media accounts, but were unable to obtain access to the CEO Accounts.

Id. Defendants demonstrated that they (wrongfully) controlled access to the CEO Accounts when

they were able to turn over passwords associated with two of the accounts to the Court on March

23, 2023. It was only after multiple orders from this Court that Defendants turned over control of

those to the Debtors.         If the TRO is not converted into a preliminary injunction and extended

through the pendency of this Adversary Proceeding, then presumably the Court will require that

the accounts revert to the control of the Defendants. In that event, as the history here makes clear,

it will take weeks if not months of effort by the Debtors and this Court to later restore access to

the Debtors.

II.       THE DEBTORS WILL SUFFER IRREPARABLE HARM WITHOUT A
          PRELIMINARY INJUNCTION

          42.      Defendants have repeatedly and openly flouted this Court’s orders and been held

in contempt of court for posting “content harmful to the [Debtors’] business.” Contempt Order at

14. The pattern and practice that Defendants have exhibited of committing the precise harmful

conduct that the Debtors’ sought to prevent in the TRO is evidence of the harm that will be suffered

absent an injunction. Defendants cannot be trusted with control over the CEO Accounts and a


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    The transcript for the referenced hearing is not yet available. The Debtors will provide relevant excerpts promptly
    upon the transcript’s becoming available.

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preliminary injunction is necessary to prevent further harm pending resolution of this Adversary

Proceeding.

         43.    Moreover, the Debtors are at a critical juncture in the Chapter 11 Cases in which

they are seeking to solicit qualified, binding bids and consummate a sale. DiDonato Decl. ¶ 13.

Thus, it is imperative that the Debtors secure all of their assets as well as continue their normal

operations, including marketing efforts, at this time. Id.

         44.    The concerns regarding control of these particular social media accounts are

especially significant because of their importance to the Company’s business. The CEO Instagram

Account alone has over 1 million followers. It and the other CEO Accounts have been used

consistently to promote the Debtors’ business and products with positive, brand-focused

messaging. See generally JO Decl., Exs. 1-3. As Defendants have demonstrated multiple times,

should control over the CEO Accounts revert back to Defendants, then there is real risk that they

will use the CEO Accounts to post their personal grievances and negative and inflammatory

commentary concerning the Debtors, their business, and the bankruptcy process. DiDonato Decl.

¶ 14; see Contempt Order at 14. Such messaging is plainly antithetical to the historical use and

purpose of the accounts, and is likely to—frankly, is intended to—have a significant adverse effect

on the Debtors and their estates.

         45.    Accordingly, the Debtors submit that they will suffer immediate and irreparable

harm if a preliminary injunction is not entered and access to the CEO Accounts reverts to

Defendants.

III.     BALANCE OF HARMS WEIGHS GREATLY IN THE DEBTORS’ FAVOR

         46.    The balance of harms greatly favors the Debtors. The harm the Debtors will suffer

in the absence of a preliminary injunction, as described above, is substantial and irreversible.



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         47.    Moreover, any harm Defendants will suffer from the preliminary injunction is

minimal or nonexistent and reversable. The TRO grants the Debtors control but not license to

post. The Debtors have demonstrated that they will abide by the terms of the TRO, including by

seeking this Court’s permission even to post a statement required under the terms of a federal court

judgment. See Emergency Motion to Allow Debtors to Post “Corrective Statement” on the CEO

Accounts [Adv. Proc. ECF No. 77].        There is no risk that the Debtors will change course and

instead unilaterally post content inconsistent with the TRO. As such, the only conceivable harm

to Defendants is temporary silence while the Court determines whether Defendants or the Debtors

own the CEO Accounts. If the Court determines that Defendants own the CEO Accounts, then

Defendants will thereafter be able to put the accounts to their own purposes, without the Debtors

having compromised them in the interim. The reverse plainly is not true.

IV.      A PRELIMINARY INJUNCTION WOULD SERVE THE PUBLIC’S INTEREST

         48.    The public interest weighs heavily in favor of granting the requested relief. “In the

context of bankruptcy proceedings, the ‘public interest’ element means ‘the promoting of a

successful reorganization.’” In re Am. Film Techs., Inf., 175 B.R. 847, 849 (Bankr. D. Del. 1994)

(“It is ‘one of the paramount interests’ of this court to assist the Debtor in its reorganization

efforts.”). The foregoing principles set forth in American Film Technologies apply with equal

force to the present situation in which the Debtors are pursuing a successful sale of their assets for

the benefit of their estates and relies on their ability to continue normal business operations. And,

in any event, the public will suffer no harm by the requested relief.

                                          CONCLUSION

         49.    For all the foregoing reasons, the Debtors respectfully request that the Court enter

an order granting the relief requested in this Motion and such other and further relief as may be

just and proper.

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 Dated:      May 12, 2023                             Respectfully submitted,
             Miami, Florida
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                                    Exhibit A

                                     Order




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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                     Chapter 11 Cases

    VITAL PHARMACEUTICALS, INC., et al.,                       Case No. 22-17842 (PDR)
                                                               (Jointly Administered)
             Debtors.8
                                                       /

    VITAL PHARMACEUTICALS, INC., et al.

                     Plaintiffs,

    v.

    JOHN H. OWOC and MEGAN E. OWOC,                            Adv. Pro. No. 23-01051 (PDR)

                     Defendants.
                                                       /


                                ORDER GRANTING EMERGENCY
                             MOTION FOR PRELIMINARY INJUNCTION




8
    The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
    Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicorn Bev LLC;
    and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
    FL 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals,
    Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO
    Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
    (vii) Vital Pharmaceuticals International Sales, Inc. (8019).


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         THIS MATTER was before this Court on May ___, 2023, at _____ [_.m.] in Fort

Lauderdale, Florida, upon the Debtors’ Motion for Preliminary Injunction and Incorporated

Memorandum of Law [Adv. Proc. ECF No. ___] (the “Motion”)9 filed by the debtors and debtors-

in-possession (the “Debtors”) in the above-captioned adversary proceeding. The Motion seeks

entry of an order (a) prohibiting Defendants John H. Owoc and Megan E. Owoc (together,

“Defendants”) from accessing, using, deleting, or modifying in any way the CEO Accounts or

content posted thereon; (b) compelling Defendants to transfer exclusive control of the CEO

Accounts to the Debtors; (c) ordering that the CEO Accounts shall remain in the exclusive control

of the Debtors pending full and final adjudication of the Adversary Proceeding; and (d) granting

related relief. The Court finds and concludes that:

         A.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this matter is proper in this

district pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.       Notice of the Motion was sufficient under the circumstances.

         C.       The legal and factual bases set forth in the Motion and the accompanying

declarations and related papers and at the hearing establish just cause for the relief granted herein.

         Accordingly, it is

         ORDERED as follows:

         1.       The Motion is GRANTED as to the request for a preliminary injunction under

sections 105(a) and 542 of the Bankruptcy Code, Rule 65 of the Federal Rules of Civil Procedure,

and Rule 7065 of the Federal Rules of Bankruptcy Procedure.




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    Capitalized terms used but not defined herein have the meanings given to them in the Motion.

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         2.         Pending a hearing and determination on the Debtors’ claims set forth in the

Complaint, Defendants are prohibited from accessing, using, deleting, or otherwise modifying the

CEO Accounts, or any content posted thereon.

         3.         The temporary restraining order entered in the Order Approving Stipulation

Regarding Debtors’ Motion for Temporary Restraining Order [ECF No. 10] and as extended and

modified by the Order Denying Emergency Motion for Relief from Unauthorized Stipulation and

Extending Temporary Restraining Order [ECF No. 81] is hereby converted into a Preliminary

Injunction which shall remain in effect pending final judgment in this Adversary Proceeding or

further action by this Court.

         4.         Nothing in this Order shall prevent the Debtors from seeking further relief with

respect to the CEO Accounts or any other accounts used in the ordinary course of the Debtors’

business operations.

         5.         Pursuant to Rule 7065 of the Federal Rules of Bankruptcy Procedures, the Debtors

are relieved from posting any security pursuant to Rule 65(c) of the Federal Rules of Civil

Procedure.

         6.         The Debtors shall serve a copy of this Order on counsel for Defendants within (1)

business day of the entry of this Order.

              7.       The Court retains jurisdiction over this Order and the relief granted herein.

                                                  # # #




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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




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